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 7                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE
 9
     Grace Galloway, Andy Lesko, and Brenda Shoss,
10   individually and on behalf of all others similarly    NO. 2:16-cv-1941-JLR
     situated,
11
                                                           ORDER GRANTING LEAVE TO
12                        Plaintiffs,                      FILE AMENDED COMPLAINT

13                            vs.                          NOTE ON MOTION CALENDAR:
                                                           August 31, 2020
14   VALVE CORPORATION, a Washington
     corporation,
15
                           Defendant.
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17
            This matter having come before the Court on the Plaintiffs’ unopposed motion for leave
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     to file an amended complaint, the Court having reviewed the materials submitted and the record
19
     herein and otherwise being sufficiently advised,
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21          IT IS HEREBY ORDERED as follows:

22          1. Plaintiffs’ motion to file an amended complaint (Dkt. # 54) is hereby GRANTED;

23              and
24
     //
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     //
26
     //
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 1   2. Plaintiffs have seven (7) days from the filing date of this order to file their amended

 2      complaint (Dkt. # 54-1) on the court’s docket.

 3          IT IS SO ORDERED this 21st day of September, 2020.
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                                                   JAMES L. ROBART
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                                                   United States District Judge
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